 Case: 6:09-cr-00016-KKC         Doc #: 192     Filed: 05/04/09   Page: 1 of 3 - Page ID#:
                                              728



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION
                                   LONDON

CASE NO. 09-16-ART                                         ELECTRONICALLY FILED

UNITED STATES OF AMERICA,                                                  PLAINTIFF,


VS.                                NOTICE OF FILING

RUSSELL CLETUS MARICLE,                                                   DEFENDANT.

                                           ** ** **

       Comes the Defendant, Russell Cletus Maricle, by counsel, and hereby gives notice

of the filing of the attached records from the Clay Circuit and District Courts to be

considered as evidence in the detention issue now before the Court. Specifically, the

following case files are attached in their entirety:

       1. Commonwealth of Kentucky v. Linsey Nicole Maricle, 00-M-00252

       2. Commonwealth of Kentucky v. Linsey N. White, 03-M-00780

       3. Commonwealth of Kentucky v. Linsey Maricle White, 04-F-00456

       4. Commonwealth of Kentucky v. Linsey N. White, 04-F-00121

       The following case histories are also filed herewith:

       1. Commonwealth of Kentucky v. Harold Wayne Collins, 04-CR-00176-001

       2. Commonwealth of Kentucky v. John Wayne Collins, 04-CR-00176-002

       3. Commonwealth of Kentucky v. Eddie Joe Cobb, 05-CR-00063-001

       4. Commonwealth of Kentucky v. Grant Junior Hatfield, 05-CR-00063-002

       5. Commonwealth of Kentucky v. Brian Curtis Collins, 05-CR-00063-003
Case: 6:09-cr-00016-KKC   Doc #: 192     Filed: 05/04/09   Page: 2 of 3 - Page ID#:
                                       729



    6. Commonwealth of Kentucky v. Eugene Price, 94-M-01192

    7. Commonwealth of Kentucky v. Eugene Price, 95-F-00005

    8. Commonwealth of Kentucky v. Eugene Price, 95-F-00024

    9. Commonwealth of Kentucky v. Eugene Price, 95-F-00338

    10. Commonwealth of Kentucky v. Eugene Price, 95-F-00339

    11. Commonwealth of Kentucky v. Eugene Price, 95-F-00362

    12. Commonwealth of Kentucky v. Eugene Price, 96-CR-00037-001

    13. Commonwealth of Kentucky v. Eugene Price, 96-CR-00046-001

    14. Commonwealth of Kentucky v. Eugene Price, 96-CR-00047-001

    15. Commonwealth of Kentucky v. Eugene Price, 96-CR-00048-001

    16. Commonwealth of Kentucky v. Eugene Price, 02-M-00978

    17. Commonwealth of Kentucky v. Eugene Price, 02-F-00328

    18. Commonwealth of Kentucky v. Eugene Price, 03-F-00373

    19. Commonwealth of Kentucky v. Eugene Price, 03-M-01024

    20. Commonwealth of Kentucky v. Eugene Price, 04-M-00335

    21. Commonwealth of Kentucky v. Eugene Price, 04-CR-00003-001

                                            Respectfully submitted,

                                            /s/ David S. Hoskins
                                            Attorney At Law
                                            107 East First Street
                                            Corbin, Kentucky 40701
                                            TELEPHONE: (606) 526-9009
                                            FAX: (606) 526-1021
                                            Email: davidhoskins@bellsouth.net
 Case: 6:09-cr-00016-KKC       Doc #: 192     Filed: 05/04/09    Page: 3 of 3 - Page ID#:
                                            730



                            CERTIFICATE OF SERVICE

       The undersigned certifies that on this 4th day of May, 2009, the foregoing was filed
electronically with the Clerk of the Court by using CM/ECF System which will send
notice of filing to all counsel of record.

                                          /s/ David S. Hoskins
